     Case 7:18-po-03712 Document 3 Filed in TXSD on 05/15/18 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION


UNITED STATES OF AMERICA

v.                                                    Case No.: 7:18−po−03712
                                                      Magistrate Judge Peter E Ormsby
Mildred Lucia Rojas−Quevedo De
Roguel



                                      JUDGMENT

      On 5/15/2018, the defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of knowingly
and unlawfully entering the United States at a place other than as designated by
immigration officers, in violation of Title 8, United States Code, Section 1325(a)(1), as
charged in the Complaint; and the Court having found that the defendant is mentally
competent, that the defendant's plea is voluntary and that there is a factual basis for the
plea;
      IT IS ADJUDGED that the defendant is guilty as charged and convicted.
     IT IS ADJUDGED that a term of imprisonment of time served and a special
assessment of $10.00 are hereby imposed.
      DONE at McAllen, Texas, on 5/15/2018.
